Case No. 1:16-cv-03079-MSK-NRN Document 60-7 filed 05/04/18 USDC Colorado pg 1 of
                                      6

                                                                                                     Policy 510



                                 PARK COUNTY SHERIFF'S OFFICE
                                POLICY AND PROCEDURE MANUAL

        Effe ctive Date: 0 | -23 -07         Approval:                          Number: 510

        Subject: HOSTAGE/BARRICADED SUBJECT INCIDENTS

        Reference                                                               Standard:

        Chapter: Y                                            Reevaluation Date                        No. Pages 6


       L      PURPOSE:
              The purpose ofthis policy is to provide general guidelines for handling hostage/barricaded
              subject situations.

       il.    DEFINITIONS:

              BARRICADED SUBJECT: Any individual who is reasonably believed to be a threat to
              commit Serious bodily injury or death to hostages, officers or others in the community and
              who is in a stronghold position.

              HOSTAGE: Any person held by another against his will by force or threat of force,
              expressed or implied.

       III. POLICY:
              In hostage/barricaded subject situations it shall be the policy of the Park County Sheriff s
              Office to consider the lives of the hostages, civilians and officers involved to be of the
              utmost importance; whenever possible, to enhance the prospects of peacefully resolving the
              incident through communication with the suspect; whenever possible, to develop and
              maintain the ability to use alternative approaches to resolve the incident should
              communications fail; and in hostage situations, to make every reasonable effort to effect the
              safe release ofthe hostages.

       TV. PROCEDURES:
              A. PATROL DEPUTIES
                      Patrol Deputies confronting hostage/barricaded subject incidents shall not initiate
                      tactical actions other that those necessary to protect the lives and safety of themselves
                      or others consistent with Park County Sheriff s Office's use of force policy. Officers
                      shallthen:

                      l. Notify a supervisory officer of the incident and circumstances;
                      2. Contain and isolate the incident scene, establishing an inner containment
                           perimeter to provide a reasonable degree of safety while maintaining contact with
                           the incident scene and, as time and resources permit, establish an outer
                           containment perimeter to control pedestrian and vehicular traffic into the area; and

                      3. Whenever possible, evacuate occupants of aff'ected residences and businesses to a

                                                                          Exhibit No.:
       03-27-07 FW/ra

                                                   EXHIBIT 7              DatdRPR
                                                                              Hunter + Geist, lnc.
Case No. 1:16-cv-03079-MSK-NRN Document 60-7 filed 05/04/18 USDC Colorado pg 2 of
                                      6

                                                                                            Policy 510



                        point beyond the perimeter.

            B.    OFFICER IN COMMAND (OIC)

                   The ranking officer at the scene shall be in command until specifically relieved by a
                   superior. The OIC shall:

                   l. Inform the watch commander about the nature and circumstances surrounding the
                        incident;

                   2. Delegate the tactical mission to the OIC of the tactical response team;
                   3. Ensure development of a communications/negotiations process and an emergency
                        response team reaction;

                   4. Ensure establishment of an inner and outer perimeter, command post, tactical
                        operations center, negotiations center and a staging area for officers and others
                        arriving for assignment;

                   5. Assign a press center and an officer for press liaison;
                   6. Ensure that responsibility for traffic and crowd cool is established, and that routes
                        for emergency vehicles have been designated;

                   7. Make provisions for recording personnel assignments and developing a
                        chronological record of events at the command center and tactical operations
                        center;

                   8. Ensure that necessary equipment from the fire department is made available at the
                        staging area together with any other units or equipment such as canine teams,
                        aviation or marine units; and

                   9. Ensure that emergency medical services are available at the site
             C     TACTICAL RESPONSE TEAM COMMANDER

                   The commander of the tactical response team shall:

                   l. Assist the OIC is assessing the situation and formulate and provide the OIC with
                        recommended tactical alternatives should communications with the subject fail to
                        resolve the incident;

                   2. Determine equipment needs and assign personnel to control and contain the inner
                        perimeter;

                   3. Designate marksmen and entry team as necessary;
                   4. Ensure that personnel manning the inner perimeter are provided with periodic
                        relief by appropriate tactical response team members;

                   5. Prepare appropriate logistical plans to include diagrams of the location in

       03-27-07 FWlra                                                                                         2


                                                   EXHIBIT 7
Case No. 1:16-cv-03079-MSK-NRN Document 60-7 filed 05/04/18 USDC Colorado pg 3 of
                                      6

                                                                                           Policy 510



                        question;

                  6. Ensure the establishment of a tactical operations center if necessary; and
                  7. Maintain contact with and keep the command post informed of all developments
                        and operations.

            D.    HOSTAGE COMMLINICATION TEAM:

                  l. Provide any requested assistance to the OIC
                  2. Provide trained primary and secondary negotiators and, as available and
                        necessary, a negotiations investigator;

                  3. Obtain all pertinent information about the hostage taker, the hostages, hostage Site
                        and other bamicaded subjects;

                  4. Debrief hostages following the incident.
            E.    PSYCHOLOGICAL SERVICES

                  Shall serve as a resource to the hostage communications team and will:

                  l. Monitor communications between the negotiators and subjects and provide
                        negotiators with assessments of effectiveness, recommended strategies and other
                        relevant information;

                  2. Assist in interviewing witnesses and debriefing hostages; and
                  3. Provide professional assistance to hostages, witnesses and others as may be
                        necessary.

            F.    TACTICALCONSIDERATIONS:

                  I   . Determine probable location of suspect within the structure.
                  2. Determine access routes & advise concerned units.
                  3. Determine the location of all personnel assigned to the operation and maintain a
                        roster.

                  4. Upon arrival of SWAT, ensure the unnecessary personnel leave the area.
            G. MAINTAIN CONTROL OF RESPONDING PERSONNEL & ENSURE THAT:
                  l. All personnel report to C.P. prior to deploying.
                  2. All personnel are adequately briefed regarding tactical problem, assignment and
                        unit designation.

                  3. Assigned personnel have communications capability.

       03-27-07 FWhz                                                                                        3


                                                 EXHIBIT 7
Case No. 1:16-cv-03079-MSK-NRN Document 60-7 filed 05/04/18 USDC Colorado pg 4 of
                                      6

                                                                                           Policy 510




                  4. Weapons fire control is maintained.
                  5. Establish alternate routes for civilian traffic.
                  6. Establish telephonic communications with suspect. Every effort must be
                        expended to obtain the voluntary surrender ofthe suspect.

                  7   . Determine identity and objective of suspects.
                  8. If suspect's identity can be ascertained, check record through station,
                        departmental and intelligence resources.

                  9. Detain all persons who can supply pertinent information, i.e., relatives, friends,
                        witnesses, and ensure their safety. Do not locate them in the command post.

                   10. Thoroughly brief allrelief personnel.

            H.    POST OPERATION CONSIDERATIONS                 :



                   I. Obtain Statement of Facts, Chemical Agents Use Form, and any other applicable
                        information from SWAT representative, and ensure that;

                  2. First report is taken by handling unit;
                  3. All pertinent information should be reported the County Commissioners.
                  4. Memo to the Division Commander is initiated.
                  5. Account for all departmental equipment, and ensure that it is services and returned
                        to its storage place.

                  6. Return borrowed equipment.
                  7. Secure location ofoccurrence for preservation ofevidence, etc.
                  8. Release premises to owner or responsible party.
                  9. Supervise clean up of areas utilized by Department personnel.
                   10. Provide follow-up service to area residents relative to damaged property, claims
                       against the county, etc.

                   ll. Determine who assisted departmental personnel, and ensure that letters of
                        appreciation are prepared.

                   12. As soon as possible, critique the operation with involved personnel, and submit a
                       memo to the unit commander relative to findings.




       03-27-07 FWha                                                                                    4


                                                 EXHIBIT 7
Case No. 1:16-cv-03079-MSK-NRN Document 60-7 filed 05/04/18 USDC Colorado pg 5 of
                                      6

                                                                                           Policy 510




                   SUGGESTED GUIDELINES                       FOR RESOLVING BARRICADED
                   SUSPECT/HOSTAGE SITUATIONS

                   The following procedures can be extremely helpful in achieving operational success at
                   the scene ofa barricaded suspect/hostage situation:

                        If the department staff has a mutual aid agreement with SWAT-Hostage
                        Negotiation Teams, alert them upon learning of a barricaded suspect/hostage
                        situation. Once confirmation has been received from field units that a barricaded
                        suspect/hostage situation in fact exists, request that a SWAT-Hostage Negotiation
                        Team respond.

                   2. Upon arrival at the scene of a barricaded suspect/hostage situation, establish an
                        inner perimeter to contain the suspect and the location. This should be done with
                        a minimum of personnel, and they should have some type of radio
                        communications. Someone should assume command pending arrival of
                        supervisory personnel.

                   3. Establish an outer perimeter for traffic and crowd control. Adjacent law
                        enforcement agencies may be used for this purpose; and if there is a shortage of
                        personnel, a fire engine or marked squad car can be used to block a street or
                        intersection.

                   4. Designate an arrest team to take charge of the suspect should he/she surrender.
                        The arrest team should be prepared to take charge of any hostage the suspect
                        releases. SWAT and Negotiations personnel must take these hostages to a
                        designated reception area for debriefing.

                   5. Restrict a radio frequency
                   6. If necessary, request a helicopter
                   7. Establish a command post outside the suspect's line of fire and sight. Obtain the
                      use of one, and if possible two, telephones. The command post should be
                        sufficiently large to accommodate responding personnel and vehicles, including
                        the SWAT team and fire/ambulance equipment.

                   8. Determine if a crime has been committed and locate victims. Obtain names,
                        addresses and statements as soon as possible.

                   9. Obtain the phone number of the location and where the phone is located within
                        the structure. Find out if the phone is cordless or not.

                    10. Maintain a chronological log of all activities.

                    ll. Contact the suspect(s) by phone or P.A. system and attempt to get them to
                        surrender. Obtain their demands, but make no commitments.

                    12. Evacuate surrounding buildings or residences, if this can be done safely. Select a
                        location where evacuees can go (coffee shop, Laundromat, motel, etc.) and advise



       03-27-07 FWlra                                                                                    5


                                                 EXHIBIT 7
Case No. 1:16-cv-03079-MSK-NRN Document 60-7 filed 05/04/18 USDC Colorado pg 6 of
                                      6

                                                                                           Policy 510



                       them when it is safe to return to their homes. Record the name and address of
                       anyone who refuses to evacuate after being warned ofthe potential hazards.

                  13. Have an ambulance, fire department and paramedic unit standing by near the
                      command post. Keep them advised of the situation.

                  14. Select a location to assemble responding press representatives and assign someone
                      to brief and remain with them pending arrival of press liaison personnel.

                   15. If possible, obtain a drawing or floor plan of the location, including entrances,
                       location of windows, inside and outside doors, access to the garage from inside
                       the location, and any other information that might assist the SWAT-Hostage
                       Negotiation Team.

                   16. A record check should be made and station files reviewed for criminal history
                       record information or contacts with the suspect(s).

                   17. Try to persuade anyone with information about the suspect(s) (friends, relatives)
                       to remain in the vicinity of the command post for possible questioning by SWAT
                       team members or negotiators.

                   18. Have the first responding officers remain available at the command post to meet
                       with SWAT team leader or his designate.

                   19. Do not allow the suspect(s) and hostage(s) to leave the location.

                  20. Do not allow friends, relatives or other interested persons to enter the location.
                      They could become hostages. Allowing these persons to talk to the suspect(s)
                       may cause severe reactions.

                  21. As field personnel are relieved of containment duties by SWAT team members,
                      they should report to the command post for reassignment. Once the situation is
                      concluded, prevent crowds from approaching the location until evidence has been
                       gathered and the fire department has cleared the location of any residual chemical
                       munitions.

                  22. The handling unit should obtain report information from the SWAT team
                       commander, leader or designate.

                   23. Clean up the command post area and express appreciation to anyone who has
                       assisted (neighbors, etc.)

                   24. Critique the operation with those involved, perhaps during a subsequent
                       briefing session.




       03-27-07 FWra                                                                                       6


                                                EXHIBIT 7
